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14                                    UNITED STATES DISTRICT COURT

15                                 NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN FRANCISCO DIVISION

17   BAYVIEW LOAN SERVICING, LLC,                     )   CASE NO. 3:21-cv-6638-JCS
                                                      )
18           Plaintiffs,                              )   JOINT INITIAL CASE MANAGEMENT
                                                      )   STATEMENT OF PLAINTIFF AND
19      v.                                            )   DEFENDANT THE UNITED STATES
                                                      )
20   DAVE STANLEY; BERRY W. MEYER,                    )
     Executor of the Estate of Melvin Rouse; and      )
21   DOES 1 to 50,                                    )
                                                      )
22           Defendants.                              )
                                                      )
23

24           Plaintiff and Defendant the United States, parties to the above-captioned action, jointly submit
25 this Joint Initial Case Management Statement pursuant to the Court’s Order dated August 30, 2021, ECF

26 No. 4, the Standing Order for All Judges of the Northern District of California, and Civil Local Rule 16-

27 9:

28 //

     JOINT INITIAL CASE MANAGEMENT STATEMENT
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 1 1. Jurisdiction and Service

 2          This is an action for partition of a property in Santa Rosa, California, which Defendant the

 3 United States (for the Internal Revenue Service (“IRS”)) removed to this Court on August 27, 2021,

 4 pursuant to 28 U.S.C. §§ 1442(a)(1) and 1444. Section 1444 provides that the United States may

 5 remove any case brought under 28 U.S.C. § 2410, including actions for partition. All parties have been

 6 served, and there are no issues regarding venue.

 7 2. Facts

 8          On April 15, 2020, Plaintiff Bayview Loan Servicing, LLC, brought an action in Sonoma County

 9 Superior Court for declaratory relief, cancellation of instrument, and partition of a property located at

10 815 Butler Avenue, Santa Rosa, California. Plaintiff owns 50 percent of the property, Defendant David

11 Stanley owns 25 percent, and Defendant Lisa Stanley owns 25 percent. The IRS has recorded Notices

12 of Federal Tax Liens against Defendants David and Lisa Stanley.

13          In the complaint, Plaintiff alleged that a 2002 deed of trust in favor of Defendant Barry Meyer

14 should have been reconveyed but that it had not. Plaintiff sought declaratory judgment and cancellation

15 of that instrument. Plaintiff also sought a partition by sale and accounting against the Stanley

16 Defendants.

17          While the matter was in state court, the issue regarding the 2002 deed of trust was resolved, and

18 a stipulated judgment was entered regarding Defendant Meyer. When the IRS liens were discovered,
19 the United States was added as a Defendant, and the IRS subsequently removed the matter to this Court.

20 The IRS has recorded liens against David and Lisa Stanley, both individually and jointly (depending on

21 the year), for 2006, 2007, 2008, 2009, 2010, 2012, 2013, 2014, 2015, and 2016. The balance of the liens

22 as of November 9, 2021, are as follows:

23          David Stanley:                        $609,046.88

24          Lisa Stanley:                         $411,101.32

25          David & Lisa Stanley (jointly):       $188,504.82

26 3. Legal Issues

27          The following legal issues are in dispute: Whether partition by sale is the most equitable division

28 of the property. Whether Defendants David and Lisa Stanley owe Plaintiff a portion of the rents and

     JOINT INITIAL CASE MANAGEMENT STATEMENT
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 1 profits from the real property collected since June 26, 2018. The priority of all liens and interests in the

 2 property.

 3 4. Motions

 4          There are no prior or pending motions. Any party may file a motion for summary judgment, if

 5 appropriate.

 6 5. Amendments to the Pleadings

 7          Plaintiff does not expect at this time to seek to amend the Complaint. Defendant the United

 8 States expects to amend its answer to include the date, amount, and character of the IRS liens and

 9 proposes to do so by December 10, 2021.

10 6. Evidence Preservation

11          Plaintiff and Defendant the United States agree that this case is not an e-discovery matter. Both

12 Plaintiff and Defendant the United States acknowledge their duty to preserve relevant materials in

13 accordance with applicable rules and case law.

14 7. Disclosures

15          The parties have not made Rule 26 initial disclosures in this matter removed from state court. At

16 this time, Plaintiff and Defendant the United States wish for additional time to explore possible

17 resolution prior to making disclosures.

18 8. Discovery
19          In state court, Plaintiff and the Stanley Defendants did not conduct any discovery.

20          Since removal, no discovery has been taken by any party. Plaintiff and Defendant the United

21 States anticipate minimal discovery if the matter is not able to be resolved to establish the amount of the

22 IRS liens and any other liens.

23          Plaintiff and Defendant the United States do not propose any limitations or modifications of the

24 discovery rules. If modifications to the discovery rules become necessary, Plaintiff and Defendant the

25 United States will seek to agree to such modifications, and if Plaintiff and Defendant the United States

26 are unable to agree, the requesting party may seek relief from the Court under the relevant Rule of Civil

27 Procedure and Local Rules.

28

     JOINT INITIAL CASE MANAGEMENT STATEMENT
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 1          Plaintiff and Defendant the United States do not believe that an e-discovery order will be

 2 required in this case because it does not involve electronic records. Plaintiff and Defendant the United

 3 States will produce any paper documents in PDF format. Plaintiff and Defendant the United States

 4 stipulate to service of discovery-related documents via email only, including copies of any third party

 5 subpoenas (with any other method a party desires as an additional method of service). If it is not

 6 possible to transmit a document or documents via email, the sending party will contact the receiving

 7 party to arrange for alternate transmission methods. No discovery disputes have arisen at this time.

 8 9. Class Actions

 9          This case is not a class action.

10 10. Related Cases

11          There are no related cases.

12 11. Relief Sought

13          Plaintiff seeks a partition by sale and accounting.

14 12. Settlement and ADR

15          To date, Plaintiff and the Stanley Defendants have sought to informally resolve this matter

16 through private sale. This has not yet been successful, in part due to the outstanding IRS liens. Plaintiff

17 and Defendant the United States are open to further settlement or ADR efforts, including a settlement

18 conference with a magistrate judge. Plaintiff and Defendant the United States do not believe that any
19 discovery or motions are necessary prior to a settlement conference.

20          Plaintiff and Defendant the United States will file their ADR certifications and the ADR

21 stipulation prior to the Case Management Conference.

22 13. Consent to Magistrate for All Purposes

23          Plaintiff and Defendant the United States have consented to magistrate jurisdiction. Dkt. Nos. 9

24 & 15. Defendants David Stanley and Lisa Stanley have not filed a consent or declination.

25 14. Other References

26          None.

27 15. Narrowing of Issues

28          None at this time.

     JOINT INITIAL CASE MANAGEMENT STATEMENT
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 1 16. Expedited Schedule

 2             None suggested.

 3 17. Scheduling

 4             Plaintiff and Defendant the United States respectfully request that a schedule be set at a case

 5 management conference to occur after a settlement conference.

 6 18. Trial

 7             Plaintiff and Defendant the United States agree that a jury trial is not available in an action for

 8 partition. Plaintiff and Defendant the United States estimate that a bench trial would take one day.

 9 19. Disclosure of Non-Party Interested Entities or Persons

10             Plaintiff is unaware of any.

11             Defendant the United States is exempt from this requirement as a federal government entity.

12 20. Professional Conduct

13             Counsel for Plaintiff and Defendant the United States have reviewed the Guidelines for

14 Professional Conduct for the Northern District of California.

15 21. Such Other Matters As May Facilitate Just, Speedy and Inexpensive Resolution

16             None.

17       DATED: November 29, 2021                              Respectfully submitted,

18       /s/ Seth Harris 1                                     STEPHANIE M. HINDS
         SETH HARRIS                                           Acting United States Attorney
19
         Attorney for Plaintiff                                /s/ Adrienne Zack
20
                                                               ADRIENNE ZACK
21                                                             Assistant United States Attorney
                                                               Attorneys for Defendant the United States
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27   1
       In compliance with Civil Local Rule 5-1(i)(3), the filer of this document attests under penalty of perjury
28   that all signatories have concurred in the filing of this document.

     JOINT INITIAL CASE MANAGEMENT STATEMENT
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 1                                       CERTIFICATE OF SERVICE

 2                               Bayview Loan Servicing, LLC v. Stanley, et al.
                                          Case No. 21-cv-06638-JCS
 3

 4        The undersigned hereby certifies that she is an employee of the Office of the United States
   Attorney for the Northern District of California and is a person of such age and discretion to be
 5 competent to serve papers. The undersigned further certifies that she is causing a copy of the following:

 6    JOINT INITIAL CASE MANAGEMENT STATEMENT OF PLAINTIFF AND DEFENDANT
                               THE UNITED STATES
 7

 8 to be served this date upon the parties in this action by placing a true copy thereof in a sealed envelope,
   and served as follows:
 9
   [X] FIRST CLASS MAIL by placing such envelope(s) with postage thereon fully prepaid in the
10 designated area for outgoing U.S. mail in accordance with this office’s practice.

11
   [] CERTIFIED MAIL (# ) by placing such envelope(s) with postage thereon fully prepaid in the
12 designated area for outgoing U.S. mail in accordance with this office's practice.

13 [] PERSONAL SERVICE (BY MESSENGER)

14 [] FEDERAL EXPRESS via Priority Overnight

15
     [] EMAIL
16
     [] FACSIMILE (FAX)
17
   to the party(ies) addressed as follows:
18
    Defendant:                                             Defendant:
19 Dave Stanley                                            Lisa J Stanley
    815 Butler Ave.                                        4949 Snyder Lane #144
20 Santa Rosa, CA 95407                                    Rohnert Park, CA 94928

21
          I declare under penalty of perjury under the laws of the United States that the foregoing is true
22 and correct.

23          Executed on November 29, 2021 at San Francisco, California.
24                                                /s/ Adrienne Zack
                                                  ADRIENNE ZACK
25                                                Assistant United States Attorney
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     JOINT INITIAL CASE MANAGEMENT STATEMENT
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